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 4                                                                           u:
                                UNITED STATES DISTRICT COURT
 5
                              SOUTHERN DISTRICT OF C1tIFORNIA
 6
                                     January 2019 Grand Jury
 7

 8   UNITED STATES OF AMERICA ,                         Case No .            19CR168 5 CAB
 9                        Plaintiff ,                      I N D I C T M E N T
10         v.                                           ~8-u~s~!~ ~2~2~a~(4) (B)
                                                                      §                   -
                                                           Possession of Images of Minors
11   RAYMOND LIDDY,                                        Engaged in Sexually Explicit
                                                           Conduct ; Title 18, U. S . C. , Sec .
12                        Defendant .                      2253(a) and (b) - Criminal
                                                           Forfeiture
13
          The grand jury charges :
14                                                  Count 1
15
           From a     date   unknown       to      on or     about     July       25,   201 7 ,    within   the
16
     Southern    District     of   California ,         defendant        RAYMOND LIDDY,               knowingly
17
     possessed one and more matters which contained a visual depiction that
18
     had been mailed, and had been s hipped and transported using a means and
19
     facility    of   interstate        and        foreign        commerce    and       in   and      affecting
20
     interstate and foreign commerce , and which was produced using materials
21
     which had been mailed and                so    shipped and transported ,                 by any means
22
     including by computer ,         the production of which involved the use of a
23
     prepubescent minor and a minor who had not attained 12 years of age
24
     engaging in sexually explicit conduct ,                       as defined in Title 18 , United
25
     States Code ,    Section 2256(2) ,             and which visual depiction was of such
26
     conduct ;   in      violation    of      Title        18 ,    United     States         Code ,     Section
27
     2252 (a) (4) (B).
28

     ALGR:cms : San Diego
     5/8/19
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 1                                     FORFEITURE ALLEGATION

 2         1.     The     allegation    contained in Count           1 of   this    Indictment       is

 3   realleged and by its reference fully inc orporated herein for the purpose

 4   of alleging forfeiture to the United States o f America pursuant to the

 5   provisions of Title 18 , United States Code , Section 2253(a).

 6         2.     Upon     conviction      of    the   offense    alleged   in     Count    1,   which

 7   involves     a     vio l ation   of     Title     18 ,    United   States     Code ,     Section

 8   2252 (a) (4) (B) ,    defendant       RAYMOND     LIDDY   shall    forfeit    to   the      United

 9   States ,   pursuant to Title 18 ,           United States Code ,       Section 2253(a)         all

10   right , title and interest in :

11                a.      any visual depictions described in section 2252 , and any

12   matter which contains any such visual depictions ;

13                b.      any property , real or personal , constituting or traceable

14   to gross profits of the offense ; and

15                c.      any property ,        real or personal ,      used or intended to be

16   used to commit or to promote the commission of said offense .

17         3.    If any of the forfeitable property described above in Paragraph

18   2 , as a result of any act or omission of the defendant,

19                a.      cannot be located upon the exercise of due diligence ;

20                b.      has been transferred or sold to ,              or deposited with ,          a

21   third party ;

22                c.      has been placed beyond the jurisdiction of the Court ;

23                d.      has been substantially diminished in value ; or

24                e.      has been commingled with other pr o perty which cannot be

25   subdivided without difficulty ;

26   it is the intent of the United States ,                    pursuant t o Title 1 8 ,         United

27   States Code , Section 2253(b) ,            to seek forfeiture of any other property

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                                                       2
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 1   of the defendant up to the value of the forfeitable property described

 2   above in Paragraph 2.

 3   All pursuant to Title 18 , United States Code , Section 2253( a)           and (b) .

 4            DATED:   May 9 , 2019 .


                                                       ~ILL :
 5

 6

 7                                                    'foreperson

 8   ROBERT
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10   By :
11            Assistant U. S . Attorney
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